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 4   Counsel for Debtor and Debtor-in-Possession
     Spearman Aerospace, Inc.
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                            UNITED STATES BANKRUPTCY COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                     LOS ANGELES DIVISION
11
     In re                                          Case No. 2:25-bk-10917-DS
12
     Spearman Aerospace, Inc.
13                                                  Chapter 11, Subchapter V
                  Debtor and Debtor-in-Possession
14                                                  STATUS UPDATE RE EFFECT OF
                                                    COURT’S RULING ON MOTION FOR
15                                                  ORDER AUTHORIZING DEBTOR TO
                                                    OBTAIN POST-PETITION LOAN [Dkt.
16                                                  No. 69] ON DEBTOR’S ABILITY TO
                                                    PROPOSE A VIABLE PLAN AND
17                                                  REQUEST FOR MODIFICATION OF
                                                    THIS COURT’S SCHEDULING ORDER
18                                                  ENTERED AS DKT. NO. 68
19                                                   Hearing:
20                                                   Date: April 8, 2025
                                                     Time: 1:00 p.m.
21
                                                     Location:
22                                                   Courtroom 1639
                                                     255 East Temple
23                                                   Los Angeles, CA 90012
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 1          TO     THE     HONORABLE           DEBORAH         SALTZMAN,         UNITED        STATES
 2   BANKRUPTCY JUDGE; AND ALL INTERESTED PARTIES.
 3          On March 13, 2025 this Court held an initial status conference in the above-captioned case.
 4   Then on March 18, 2025 this Court entered a scheduling order as Dkt. No. 68 (the “Scheduling
 5   Order”) setting plan confirmation dates and deadlines in this case based on the Debtor filing and
 6   serving its plan today on April 1, 2025. The Debtor had already circulated a draft plan to the
 7   Subchapter V trustee prior to the March 13, 2025 status conference and believed up until recently
 8   that it would be able to file its plan and serve it out today, April 1, 2025. To that end, it moved
 9   forward with Debtor's Motion for Order Authorizing Debtor to Obtain Post-Petition Loan [Dkt.
10   No. 69] (the “DIP Financing Motion”) on March 18, 2025.
11          However, in light of Pacific Premier Bank’s recent opposition [Dkt. No. 85] (the
12   “Opposition”) to the Debtor's Motion for Order Authorizing Debtor to Obtain Post-Petition Loan
13   [Dkt. No. 69] (the “DIP Financing Motion”), there is now uncertainty regarding the Debtor’s ability
14   to borrow funds from SPAC Holdings I, LLC, which funds are currently believed to be necessary
15   for the Debtor to propose a viable plan. Moreover, the uncertainty as to whether the Debtor will
16   have access to all or part of the $500,000 contemplated in the proposed DIP Financing Motion,
17   makes finalizing realistic projections for the Debtor practically impossible at this time. As such,
18   the Debtor is unable to file a viable plan today and believes having some additional time to obtain
19   the Court’s ruling on its DIP Financing Motion and discuss its options in light of that ruling with
20   the Subchapter V Trustee and other interested parties will give the Debtor its best chance of
21   proposing a viable plan. The Debtor has discussed the forgoing issues with the Subchapter V
22   Trustee and understands he would support an amended scheduling order so long as the plan is filed
23   within the 90-day statutory deadline.
24          The 90-day statutory deadline for filing a plan in this Subchapter V case is not until May 7,
25   2025. Thus, after the Court has ruled on the DIP Financing Motion on April 8, 2025, the Debtor
26   would request that the Court agree to enter an Amended Scheduling Order providing a new (later)
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 1   confirmation hearing date at a date convenient to the Court with further updated dates and deadlines
 2   related to such confirmation hearing.1
 3   DATED: April 1, 2025                                           ECHO PARK LEGAL, APC
 4                                                                  /s/ M. Douglas Flahaut_______
                                                                    M. Douglas Flahaut
 5                                                                  Counsel for Debtor and Debtor-in-Possession
                                                                    Spearman Aerospace, Inc.
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       The Debtor has not yet served the original Scheduling Order or notice of the confirmation hearing on all creditors as
28   the Debtor planned to do so at the same time it served the plan, ballots, and notice of the confirmation hearing. Thus,
     creditors will not be prejudiced or confused by entry of an Amended Scheduling Order.

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                                       PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is: Echo Park Legal, APC, 2210 W Sunset Blvd. #301, Los Angeles, CA 90026.
A true and correct copy of the foregoing document entitled (specify): STATUS UPDATE RE EFFECT OF
COURT’S RULING ON MOTION FOR ORDER AUTHORIZING DEBTOR TO OBTAIN POST-PETITION
LOAN [DKT. NO. 69] ON DEBTOR’S ABILITY TO PROPOSE A VIABLE PLAN AND REQUEST FOR
MODIFICATION OF THIS COURT’S SCHEDULING ORDER ENTERED AS DKT. NO. 68
DECLARATION RE DEBTOR’S DIP FINANCING MOTION will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On 4/1/2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:
   •   Karen L Belair kbelair@zwickerpc.com
   •   David A Berkley david.berkley@wbd-us.com, mary.koo@wbd-us.com;Sul.Lee@wbd-us.com
   •   M Douglas Flahaut df@echoparklegal.com
   •   Robert Paul Goe (TR) bktrustee@goeforlaw.com,
       kwareh@goeforlaw.com;bkadmin@goeforlaw.com;C187@ecfcbis.com;kmurphy@goeforlaw.com;rgoe@goeforlaw.com
   •   Arnold L Graff agraff@wrightlegal.net, nvbkfiling@wrightlegal.net;jpowell@wrightlegal.net
   •   Noreen A Madoyan Noreen.Madoyan@usdoj.gov
   •   Sean A OKeefe sokeefe@okeefelc.com, seanaokeefe@msn.com
   •   David L Oberg david@oberglawapc.com
   •   Madison B Oberg madison@oberglawapc.com
   •   Thomas J Polis tom@polis-law.com, paralegal@polis-law.com;r59042@notify.bestcase.com
   •   Amitkumar Sharma amit.sharma@aisinfo.com
   •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   •   Dylan J Yamamoto dylan@echoparklegal.com
                                                                                          Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date_), 2025, I caused to be served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
   on (date), I served the following persons and/or entities by personal delivery, overnight mail service, or (for
   those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
   be completed no later than 24 hours after the document is filed.
                                                                   Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

4/1/2025                   M. Douglas Flahaut                                                 /s/ M. Douglas Flahaut
Date                       Printed Name                                                       Signature

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
